
665 S.E.2d 742 (2008)
In the Matter of J.T. (I), J.T. (II), A.J.
appealed by Cumberland County DSS &amp; GAL.
No. 155PA08.
Supreme Court of North Carolina.
August 26, 2008.
Elizabeth Kennedy-Gurnee, Fayetteville, for J.T., J.T., and A.J.
*743 Beth A. Hall, Attorney Advocate, for Guardian ad Litem.
Richard Croutharmel, for Mother.
Peter Wood, for Father.
Prior report: ___ N.C.App. ___, 657 S.E.2d 692.

ORDER
Upon consideration of the petition filed by Petitioners (Cumberland County DSS &amp; GAL) on the 8th day of April 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 26th day of August 2008."
Upon consideration of the petition filed on the 8th day of April 2008 by Petitioners (Cumberland County DSS &amp; GAL) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 26th day of August 2008."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
